

ORDER

PER CURIAM.
AND NOW, this 7th day of April, 2006, Francine S. Gritz, a/k/a Francine R. Solomon, having been suspended from the practice of law in the State of Delaware for a period of three years by Opinion and Order of the Supreme Court of Delaware decided October 26, 2005; the said Francine S. Gritz, a/k/a Francine R. Solomon, having been directed on January 24, 2006, to inform this Court of any claim she has that the imposition of the identical or comparable discipline in this Commonwealth would be unwarranted and the reasons therefor; and no response having been filed, it is
ORDERED that Francine S. Gritz, a/k/a Francine R. Solomon, is suspended from the practice of law in this Commonwealth for a period of three years, to run concurrent with the suspension imposed by this Court on September 26, 2005, at No. 1037 Disciplinary Docket No. 3.
Madame Justice BALDWIN did not participate in this matter.
